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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

UNITED STATES OF AMERICA, ex
rel. ROBERT V. SMITH,

             Qui Tam Plaintiff,

v.                                     CASE NO.: 3:20-cv-03678/MCR/EMT

JAY A. ODOM; OKALOOSA
COUNTY, BOARD OF COUNTY
COMMISSIONERS,

             Defendants.

__________________________________________________________________

        PLAINTIFF’S UNOPPOSED MOTION FOR EXTENSION
             OF TIME TO FILE AMENDED COMPLAINT
__________________________________________________________________

      NOW INTO COURT, comes Plaintiff, United States of America, ex rel.

Robert V. Smith (“Smith”), by and through his undersigned counsel, pursuant to

Federal Rule of Civil Procedure 15 and Local Rule 6.1, hereby moves for an

extension of time to file an Amended Complaint in response to Defendants’ Motion

to Dismiss. In support thereof, Plaintiff, Smith states as follows:

      1.     On February 12, 2021, counsel for Defendant, Jay Odom, filed a

Motion to Dismiss the Complaint and Memorandum in Support (Doc. 24 and 25).




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      2.     On February 15, 2021, counsel for Defendant, Okaloosa County Board

of County Commissioners filed a Notice of Adopting and Joining Motion to Dismiss

and Memorandum in Support (Doc. 30).

      3.     Pursuant to Local Rule 7.1(e), Plaintiff’s response to Defendants’

Motion to Dismiss is due February 26, 2021.

      4.     In order to conserve judicial resources, Plaintiff intends to respond to

the Motion to Dismiss by filing an Amended Complaint and seeks an extension of

the February 26, 2021 deadline to respond to the Motion to Dismiss.

      5.     Pursuant to Federal Rule of Civil Procedure 15(a), Local Rule 6.1 and

in the interests of conserving judicial resources, Plaintiff seeks leave until March 12,

2021 to file his Amended Complaint, which will be his first such amendment.

      6.     This Motion is made in good faith and not for purposes of delay.

      7.     Undersigned represents to this Court that Counsel for Defendants have

no objection to Plaintiff filing an Amended Complaint by March 12, 2021 or the

relief requested herein.

      WHEREFORE, Plaintiff, Smith respectfully requests that this Court enter an

order granting the relief requested herein and allow Plaintiff until March 12, 2021 to

file an Amended Complaint.




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                CERTIFICATE OF COUNSEL CONFERENCE

      I HEREBY CERTIFY, pursuant to N. D. Fla. Loc. R. 7.1(B), that counsel for

Plaintiff, Smith conferred with counsel for Defendants, Odom and Okaloosa County

Board of County Commissioners in a good faith effort to resolve by agreement the

issues raised in this motion, and Defendants’ counsel do not object to the relief

requested herein.

      Respectfully submitted this 26th day of February, 2021.


                                       /s/ Amelia H. Beard
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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing has been

served by electronic mail via the Court’s transmission of the Notice of Electronic

Filing to the following, this 26th day of February, 2021:

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